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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Alexandria Division

DAVID A. STEBBINS )

Plaintiff,
Vv. ) Case No. 1:14cv961
EDUCAP, INC., et al.,

Defendants.

DEFENDANT EDUCAP INC.’S
MOTION FOR EXTENSION OF TIME

Defendant, EduCap Inc. (“Educap”), by counsel, states as follows for its Motion for
Extension of Time to move, respond, answer or otherwise plead to the Complaint:

i This action was filed by Plaintiff in the United States District Court for the
Eastern District of Virginia on July 28, 2014. ECF No. 1.

mn On September 16, 2014, EduCap was served through its registered agent, setting
the deadline in which to answer, plead or otherwise respond to the Complaint as October 7,
2014,

3, EduCap seeks an extension of time for it to file its responsive pleading to the
Plaintiff's Complaint through and including October 21, 2014. This amount of time will allow
EduCap to properly understand and investigate the claims raised in the Complaint.

4. Undersigned counsel contacted Plaintiff requesting consent to its Motion for
Extension of Time. To date, undersigned counsel has not received a final response from Plaintiff
regarding whether he consents to the instant Motion. For purposes of this Motion, EduCap
presumes that Plaintiff does not consent.

De No party will be prejudiced by the short extension of time.
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6. This Motion is filed prior to the expiration of time to answer, plead or otherwise
respond under Rule 12(a) of the Federal Rules of Civil Procedure.

WHEREFORE, for the reasons stated herein, Defendant, EduCap Inc. respectfully
requests that this Court grant this motion extending the time in which EduCap must file a

responsive pleading to the Complaint until on or before October 21, 2014.

Dated: October 1, 2014
Respectfully submitted,
EDUCAP INC.

By: /s/
D. Margeaux Thomas
Virginia State Bar No. 75582
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CERTIFICATE OF SERVICE

I hereby certify that on this 1st day of October, 2014, a copy of the foregoing document was
filed electronically with the Clerk of the Court using CM/ECF system, which will send notification
of such filing to all parties of record who have obtained CM/ECF passwords. Additionally, a copy
was mailed via first class mail to:

David A. Stebbins
123 W. Ridge Street, Apt. D
Harrison, Arkansas 72601

/s/ D. Margeaux Thomas
D. Margeaux Thomas (VA Bar # 75582)
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